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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

United States of America                           §
                                                   §
vs.                                                §     NO: AU:24-CR-00100(19)-RP
                                                   §
(19) Derek Byrd                                    §

               ORDER SETTING REARRAIGNMENT AND PLEA

            IT IS HEREBY ORDERED that REARRAIGNMENT AND PLEA in the above
styled case has been set in Courtroom Number 6 on the 6th Floor of the United States
Courthouse, 501 West Fifth Street, Austin, Texas 78701 on 01/23/2025 at 2:00 p.m..


            Both counsel and defendant must appear IN PERSON unless specifically excused
from appearing by the Court. Counsel for the defendant shall notify the defendant of this setting,
and if the defendant is on bond, advise the defendant that attendance is mandatory on the date
and time specified in this Order. Counsel is further reminded that it is their duty to advise
clients, witnesses, and others concerning rules of decorum to be observed in Court (see Court
Rule AT-5(b)12).

            Whenever a defendant or witness in a criminal case has need for the services of
a court interpreter, counsel must inform the Courtroom Deputy no later than two (2)
business days before the scheduled Court proceeding.


            IT IS FURTHER ORDERED that the parties shall file all documents pertinent to this
plea no later than 5:00 P.M. two (2) business days before the scheduled Court proceeding.
Failure to comply with this Order may result in the cancellation of the plea hearing and the
referral of the case back to the District Court.




January 7, 2025                                        ______________________________
                                                       SUSAN HIGHTOWER
                                                       UNITED STATES MAGISTRATE JUDGE
